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U.S. District Court for the Northern District Of lllinois
Attorney Appearance Form

 

An appearance is hereby filed by the undersigned as attorney for:
Defendants David Widerhorn and Paul Giedraitis

Attorney name (type or print): William Choslovsky
Firm: Fox Rothschild LLP

Street address: 353 N. C|ark Street, Suite 3650
Citnytate/Zip: Chicago, illinois 60654

Bar lD Number: 5224564 Telephone Number: (312) 517'9207

(See item 3 in instructions)

Email Address; Wchoslovsky@foxrothschild.com

Are you acting as lead counsel in this case? \:\ Yes § No
Are you acting as local counsel in this case? |:| Yes NNO
Are you a member of the court’s trial bar? |:| Yes § No

If this case reaches tria|, will you act as the trial attorney? |:| Yes g No

lf this is a criminal case, check your status. |:| Retained Counsel

|:| Appointed Counsel
lf appointed counsel, are you

|:| Federal Defender
|:| cJA Panel Attorney

 

ln order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
l declare under penalty of perjury that the foregoing ls true and correct Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on September 5, 2017

Attorney signature: S/ Wi|liam ChOS|O\/Sky

 

(Use electronic signature if the appearance form is filed electronica||y.)

Revised 811/2015

